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                 UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF OHIO



   CHRISTOPHER META,                          : Case No. 4:14-cv-0832
            Plaintiff,                        :
        v.                                    : NOTICE OF APPEAL
                                              :
   TARGET CORP., et al.,                      :
            Defendants.                       :
                                              :
                                              :
                                              :
                                              :
                                              :
                                              :
                                              :

                            NOTICE OF APPEAL
  Notice is hereby given that Sheila Ference, hereby appeals to the Sixth Circuit
  from the Order Granting Final Approval of Class Action Settlement [DE 176-4]
  of the United States District Court, Northern District of Ohio, entered in this
  action on 7-27-18.
   Dated: 08-27-18                           By: /s/ Simina Vourlis
                                                 Simina Vourlis
                                                 Attorney for Appellant Sheila Ference
                                                 The Law Office of Simina Vourlis
                                                 856 Pullman Way
                                                 Columbus OH 43212
                                                 (o) 614.487.5900
                                                 (f) 614.487.5901
                                                 svourlis@vourlislaw.com




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  NOTICE OF APPEAL
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                          CERTIFICATE OF SERVICE
  I hereby certify that a true copy of the foregoing was filed electronically via
  CM/ECF on the 08/27/18 and served by the same means on all counsel of
  record.

                                                  /s/ Simina Vourlis
                                                   Simina Vourlis




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  NOTICE OF APPEAL
